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                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

EAGLES LANDING DAYCARE &                      )
LEARNING CENTER,                              )
                                              )
             Plaintiff,                       )
                                              )     CIVIL ACTION FILE
 v.                                           )
                                              )     NO. 1:14-CV-00465-HLM
SPARTA INSURANCE COMPANY,                     )
                                              )
             Defendant.                       )

      DEFENDANT’S REPLY BRIEF TO PLAINTIFF’S RESPONSE IN
      OPPOSITION TO MOTION TO ENFORCE APPRAISAL AWARD

      COMES NOW SPARTA INSURANCE COMPANY (hereinafter “Sparta”)

and files this, its Reply Brief to Plaintiff’s Response in Opposition to Enforce

Appraisal Award, and shows this Honorable Court as Follows:

      Plaintiff contends that the court appointed umpire made a mistake in his

award because the “determination in this matter articulated a belief that there was

no damage at all from any hail in this case”, and that the appraisal determination

should be set aside. (Opposition P. 3). Plaintiff supports this argument by stating

that “the parties had all ready [sic] agreed that there was at least an amount of hail

damage that was not only covered by the subject insurance policy, but that was
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approaching $140,000 in value”. (Opposition P. 3). In other words, Plaintiff takes

issue with the umpire’s decision regarding value of damages.

      As conceded by Plaintiff in its Opposition, in order to challenge an appraisal

award, there must be “evidence of fraud, oppression, irregularity, or unfairness,

other than on the disputed issue of value, and no other circumstances tending to

raise the issue . . ..” Bell v. Liberty Mut. Fire Ins. Co., 319 Ga. App. 302 (2012).

(citing Southern General, 187 Ga. App. at 497)(emphasis added). “Thus, unless

there is fraud sufficient to set the appraisement award aside, the trial court should

have directed a verdict . . . on the issue of amount of loss.” Southern General, 187

Ga. App. at 497. Even if there is evidence of fraud, oppression, irregularity or

unfairness, such cannot relate to “the disputed issue of value.” Id. (emphasis

added).

      The umpire’s observations finding no damage related to the hailstorm is

simply a decision regarding the value of damages. Sparta’s decision to make

payment on the claim has no bearing on the umpire’s decision.           In fact, the

umpire’s decision actually illuminates that Sparta was more than generous in its

payment to Plaintiff. As Georgia has clearly held, an appraisal award cannot be set

aside over a dispute regarding the value of a claim.           Accordingly, Sparta




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respectfully requests that this Court Order enforcement of the appraisal award and

dismiss this action.

      This 23rd day of March 2015.

                               Respectfully submitted,

                               SWIFT, CURRIE, McGHEE & HIERS, LLP

                               By:   /s/ Pamela N. Lee
                                     Pamela Newsom Lee
                                     Georgia State Bar No. 198981

                                     Attorney for Defendant
                                     SPARTA INSURANCE COMPANY

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              CERTIFICATE OF FONT & CERTIFICATE OF SERVICE

        I hereby certify that the foregoing document was prepared in Times New

Roman 14-point font in conformance with Local Rule 5.1(C), and that I have this

day electronically filed this Defendant’s Reply Brief to Plaintiff’s Response in

Opposition to Enforce Appraisal with the Clerk of Court using the CM/ECF

system and served upon all counsel of record, by electronic filing and/or United

States mail, postage prepaid, and properly addressed as follows:

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         Atlanta, Georgia 30339                     The Voss Law Center
                                                    26619 Interstate 45
                                                    The Woodlands, Texas 77380

        This 23rd day of March 2015.

                                   SWIFT, CURRIE, McGHEE & HIERS, LLP

                                   By:   /s/ Pamela N. Lee
                                         Pamela Newsom Lee
                                         Georgia State Bar No. 198981
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